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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                   )
                                                   )
                                                   )
  In re Ex Parte Application of SANDOZ             )
  CANADA INC. for an Order to Conduct              )
  Discovery for Use in Foreign Proceedings         )
  Pursuant to 28 U.S.C. § 1782,                    )        Misc. Case No. MC-_________
                                                   )
                             Petitioner.           )
                                                   )
                                                   )
                                                   )




       EX PARTE APPLICATION FOR AN ORDER TO CONDUCT DISCOVERY
       FOR USE IN FOREIGN PROCEEDINGS PURSUANT TO 28 U.S.C. § 1782

         Petitioner Sandoz Canada Inc. hereby moves ex parte for an order to conduct discovery

  for use in foreign proceedings pursuant to 28 U.S.C. § 1782. In support thereof, Petitioner

  incorporates by reference herein its memorandum of law and exhibits thereto. A proposed form

  of Order is attached.




  Dated: March 5, 2020                        By: Brian Prew

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